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 5                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,

 8                              Plaintiff,          NO: 2:15-CR-0091-TOR-1
                                                        2:15-CR-0091-TOR-2
 9          v.                                          2:15-CR-0091-TOR-3
                                                        2:15-CR-0091-TOR-5
10    AREN LEE PERRYMAN (1),                            2:15-CR-0091-TOR-7
      KAYLA LYNN TOFSRUD (2),                           2:15-CR-0091-TOR-9
11    CONSTANCE MAY BRYANT (3),
      SHAWNEE MARIE HARMSEN (5),                    PROTECTIVE ORDER
12    BRENDA LEE MORGAN AKA
      BRENDA PERRYMAN (7), and
13    DAVID KING STROUSE, III (9).

14                              Defendants.

15         Before the Court is the United States’ Motion for Protective Order (ECF No.

16   131). The motion was submitted for consideration without oral argument on an

17   expedited basis. The Court has reviewed the motion and the file herein, and is

18   fully informed. The United States seeks to protect the integrity of the discovery

19   process and the safety of the cooperating individuals in this matter and requests the

20   Court enter a protective order. For good cause shown, the motion is granted.



     PROTECTIVE ORDER ~ 1
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 1            Accordingly, it is HEREBY ORDERED:

 2            1.    The United States will provide discovery materials on an on-going

 3   basis to defense counsel;

 4            2.    Defense counsel may possess but not copy (excluding the production

 5   of necessary working copies) the discovery materials, including sealed documents;

 6            3.    Defense counsel may show to, and discuss with the Defendant the

 7   discovery material, including sealed documents;

 8            4.    Defense counsel shall not provide original or copies of discovery

 9   materials directly to the Defendant;

10            5.    Defense counsel shall not otherwise provide original or copies of the

11   discovery material to any other person, including subsequently appointed or

12   retained defense counsel, and shall not leave any discovery materials unsupervised

13   with any person to include the client;

14            6.    The United States and defense counsel may reference the existence

15   and content of sealed discovery material in open and closed court proceedings

16   relevant to 2:15-CR-0091-TOR-1-9; and

17            7.    The parties reserve the right to seek relief from the Protective Order

18   should the need arise.

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     PROTECTIVE ORDER ~ 2
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 1         The District Court Executive is hereby directed to enter this Order and

 2   furnish copies to counsel.

 3         DATED September 22, 2015.

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 5                                   THOMAS O. RICE
                                  United States District Judge
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     PROTECTIVE ORDER ~ 3
